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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
    v.                                               :      Case No. 20-cr-264 (TFH)
                                                     :
MICHAEL JOSEPH PETERSON, Jr.,                        :
                                                     :
     Defendant.                                      :

            GOVERNMENT’S MOTION TO DISMISS WITHOUT PREJUDICE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Motion to Dismiss the Indictment in the above-

listed case without prejudice. Undersigned counsel has conferred with counsel for the Defendant,

who does not object to the United States’ motion that the dismissal be without prejudice.

         WHEREFORE the United States respectfully requests that the Court Dismiss the

Indictment charged in Case No. 20-CR-264 without prejudice.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              D.C. Bar Number 415793


                                       By:     /s/ James B. Nelson
                                               JAMES B. NELSON
                                               D.C. Bar No. 1613700
                                               Assistant United States Attorney
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Dated: July 13, 2021

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on July 13, 2021.




                                       By:         /s/ James B. Nelson
                                                   JAMES B. NELSON
                                                   D.C. Bar No. 1613700
                                                   Assistant United States Attorney
                                                   Federal Major Crimes Section
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